         Case 1:07-cr-20833-ASG Document 8 Entered on FLSD Docket 10/23/2007 Page 1 of 4


                                                                                OCT 23, 2007




                        07-20833-CR-GOLD/BANDSTRA




1 of 4
         Case 1:07-cr-20833-ASG Document 8 Entered on FLSD Docket 10/23/2007 Page 2 of 4




2 of 4
         Case 1:07-cr-20833-ASG Document 8 Entered on FLSD Docket 10/23/2007 Page 3 of 4




3 of 4
         Case 1:07-cr-20833-ASG Document 8 Entered on FLSD Docket 10/23/2007 Page 4 of 4




4 of 4
